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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



 CHARLES GRESHAM, et al.,                                )
                                                         )
                 Plaintiffs,                             )
                                                         ) No. 1:18-cv-01900-JEB
         v.                                              )
                                                         )
 ALEX M. AZAR II, et al.,                                )
                                                         )
                 Defendants.                             )


              PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTION TO
                          RELATED-CASE DESIGNATION

       The Defendants object to this Court’s related-case designation, arguing that Gresham v.

Azar and Stewart v. Azar challenge two separate and unrelated agency actions. Defs’ Obj. to

Related-Case Designation (DE 17). As discussed below, these cases are unquestionably related,

and the Court should deny the Defendants’ objection.

       Civil cases “are deemed related when the earliest is still pending on the merits in the District

Court and they . . . (ii) involve common issues of fact, or (ii) grow out of the same event or

transaction . . . .” LCvR 40.5(a)(3). Further, cases that present “identical issues for resolution” and

in which there is “substantial overlap in both the factual underpinning and the legal matters in

dispute” qualify for related-case designation. Singh v. McConville, 187 F. Supp. 3d 152, 155-56

(D.D.C. 2016) (citing Autumn Journey Hospice, Inc. v. Sebelius, 753 F. Supp. 2d 135, 140 (D.D.C.

2010)). Asking for the same relief in separate cases also weighs in favor of the designation. Id. at

156. All these factors are present here.

       First, Stewart, which is still pending before this Court, and Gresham arise from the same

events. In 2017, the Administration announced plans to “comprehensively transform” Medicaid,


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in particular the Medicaid expansion to low-income adults, which it labeled a “fundamental flaw”

of the Affordable Care Act. To this end, on January 11, 2018, the Defendants issued a Dear State

Medicaid Director Letter (DSMD Letter) announcing a new policy authorizing states to impose

work requirements and other restrictive policies on low-income individuals as a condition of

Medicaid coverage. Kentucky and Arkansas submitted requests under Section 1115 of the Social

Security Act to condition Medicaid coverage on work requirements and compliance with other

restrictive policies. The Defendants relied on the DSMD Letter and Section 1115 to approve the

Kentucky HEALTH project and Arkansas Works Amendment that are at issue in these cases.

Compare Stewart v. Azar Compl. at 22-23 (describing work requirements), 28-29 (describing

termination of retroactive coverage), 30-35 (describing DSMD Letter and related activities), 66-

67 (APA claim regarding DSMD Letter) with Gresham v. Azar Compl. at 17-20 (describing work

requirements), 20-21 (describing termination of retroactive coverage), 21-27 (describing DSMD

Letter and related activities), 34-35 (APA claim regarding DSMD Letter).        Because of these

approvals, thousands of low-income individuals will lose Medicaid coverage

        Gresham also involves substantial overlap with the legal matters at issue in Stewart. Both

cases ask whether the Defendants’ (1) issuance of the DSMD Letter violates the Administrative

Procedure Act (APA); (2) subsequent approvals of the states’ requests pursuant to Section 1115

violate the APA; and (3) actions to restructure Medicaid violate the Take Care Clause of the

Constitution. Likewise, both cases seek the same relief. Compare Stewart v. Azar Compl. at 66-67

(APA claim regarding DSMD Letter), 73-74 (APA claim against approval), 74-76 (Take Care

Clause claim), 76 (requested relief) with Gresham v. Azar Compl. at 34-35 (APA claim regarding

DSMD Letter), 35-36 (APA claim against approval), 36-37 (Take Care Clause Claim), 37

(requested relief).



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        The Defendants contend the cases involve some different issues of fact. While cases in-

volving different states inevitably involve some factual differences, the case law shows that these

differences are not material to whether they are related. In Singh, the federal defendants argued

that “the individualized and case-by-case analysis” required under federal anti-discrimination law

and Army standards meant that the case was not related to an earlier case filed by a different

plaintiff. 187 F. Supp. 3d at 155 (internal quotations omitted). The court rejected this distinction

because the defendants ignored “the common issues of fact in the two cases related to defendants’

policies and actions.” Id. The “substantial overlap in both the factual underpinning and the legal

matters in dispute” supported the conclusion “that judicial economy would be served by having

these matters resolved by the same judge.” Id. at 156 (quoting Autumn Journey Hospice, Inc. v.

Sebelius, 753 F. Supp. 2d 135, 140 (D.D.C. 2010)). Similarly, Autumn Journey Hospice deemed

related six separate APA cases challenging a rule as inconsistent with the Medicare Act and HHS’s

demands that hospice providers repay funds pursuant to that rule. See 753 F. Supp. 2d at 136–39.

Even though some factual differences existed between the cases, the court held that “[e]ach case .

. . presents identical issues for resolution: whether the regulation impermissibly conflicts with the

underlying statute and, if so, what relief should be afforded the plaintiff[s].” Id. at 140.

        As in the above cases, the Plaintiffs in both Gresham and Stewart are challenging the same

administrative actions and legal requirements under the APA — the Defendants’ issuance of the

DSMD Letter and application of the DSMD Letter and Section 1115 to approve work requirements

and other Medicaid cuts. Accordingly, both cases present this Court with “identical issues for res-

olution,” Autumn Journey Hospice, 753 F. Supp. 2d at 140, and thus warrant related-case designa-

tion.




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       The Defendants rely on Lucas v. Barreto, but that case in fact cuts against their objection.

Lucas concluded that the complaint contained “vague allegations” and “scatter-shot” claims that

made it “far from clear” whether the cases were related. Lucas v. Barreto, Civ. No. 04-1262 (EGS),

2005 WL 607923 at *1, *3 (D.D.C. Mar. 16, 2005). The Stewart and Gresham Complaints, by

contrast, do not suffer from these defects. Without question, the Plaintiffs in both cases are raising

claims targeting the same underlying agency actions: the Defendants’ issuance and use of the

DSMD Letter and Section 1115 of the Social Security Act to terminate benefits and condition

Medicaid coverage on work requirements and other eligibility restrictions in violation of the Take

Care Clause and the APA.

       Finally, the cases should be designated as related because doing so will enhance judicial

economy. The related-case rule is appropriate when a judge’s “experience with complex issues in

an earlier case may actually enhance the likelihood of a speedy and inexpensive determination of

a later case without necessarily diminishing its prospects for a just one.” Alberti v. Gen. Motors

Corp., 600 F. Supp. 1024, 1025 (D.D.C. 1984). Stewart and Gresham concern the same thicket of

statutory provisions of the Social Security Act, which Judge Friendly observed is “almost unintel-

ligible to the uninitiated” and the same constitutional provision. Friedman v. Berger, 547 F.2d 724,

727, n. 7 (2d Cir. 1976). Further, this Court’s recent experience with the Stewart case involved

reviewing the same type of administrative record compiled by the Defendants to approve work

requirements and other restrictions pursuant to Section 1115, and thus will certainly enhance the

likelihood of a speedy and efficient determination of Gresham. Moreover, no party has questioned

the prospect that the Court will not enter a just determination. Plaintiffs therefore ask the Court to

deny Defendants’ objection and retain this case as related to Stewart v. Azar.




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September 6, 2018

                                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 6, 2018, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system, which will send an electronic notice to the Defend-

ants’ attorneys of record.


                                             By:     /s/ Catherine McKee
                                                     Catherine McKee




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